     Case 1:19-cr-10060-JDB Document 50 Filed 09/18/20 Page 1 of 2                   PageID 76




                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF TENNESSEE
                                 EASTERN DIVISION

UNITED STATES OF AMERICA,

        Plaintiff,

v.                                                                   No. 1:19-cr-10060-JDB-1

JERMAL ANTAWN MARABLE,

      Defendant.
______________________________________________________________________________

      ORDER STRIKING DEFENDANT’S PRO SE MOTION FROM THE DOCKET
______________________________________________________________________________

        On August 26, 2019, retained counsel Harold E. Dorsey filed a notice of appearance on

behalf of the Defendant, Jermal Antawn Marable. (Docket Entry (“D.E.”) 24.) To this date,

Defendant has continued to be represented by Mr. Dorsey. Before the Court is Defendant’s pro se

motion for discovery material. (D.E. 48.)

        “It is well settled that there is no constitutional right to hybrid representation.” United

States v. Steele, 919 F.3d 965, 975 (6th Cir. 2019) (quoting United States v. Cromer, 389 F.3d 662,

681 n.1 (6th Cir. 2004)). Title 28 U.S.C. § 1654 permits parties in the federal courts to “plead and

conduct their own cases personally or by counsel[.]” The Sixth Circuit has “interpreted this

provision as allowing a litigant to represent himself pro se or to obtain representation -- but not

both.” United States v. Rohner, 634 F. App’x 495, 505 (6th Cir. 2015). That is, “[t]he right to

defend pro se and the right to counsel have been aptly described as two faces of the same coin, in

that waiver of one constitutes a correlative assertion of the other.” Miller v. United States, 561 F.

App’x 485, 488 (6th Cir. 2014) (quoting United States v. Mosely, 810 F.2d 93, 97-98 (6th Cir.

1987)). Courts generally will not consider a defendant’s pro se motion when he is represented by
  Case 1:19-cr-10060-JDB Document 50 Filed 09/18/20 Page 2 of 2                 PageID 77




counsel. United States v. Modena, 430 F. App’x 444, 448 (6th Cir. 2011). As Marable is

represented by counsel, his pro se motion is hereby STRICKEN from the docket.

       IT IS SO ORDERED this 18th day of September 2020.

                                          s/ J. DANIEL BREEN
                                          UNITED STATES DISTRICT JUDGE




                                             2
